      Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 1 of 7



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 Attorneys for Plaintiﬀs


                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFO RNIA

JONAS PEREZ-HERNANDEZ and ISABEL                Civil No.: 3:24-cv-01736-VC
PAZ-HERNANDEZ, individually and on behalf of    MDL: 3:16-md-02741-VC
all others similarly situated,
                                                PLANTIFFS’ MOTION FOR LEAVE TO
              Plaintiﬀs,                        AMEND THE CLASS ACTION
                                                COMPLAINT
       v.

BAYER AKTIENGESELLSCHAFT, a German
joint-stock company; BAYER CORPORATION,
an Indiana corporation; and MONSANTO
COMPANY, a Delaware corporation,

              Defendants.




 Civil No.: 3:24-cv-01736-VC
 MDL: 3:16-md-02741-VC
               PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
        Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 2 of 7




       Plaintiﬀs Jonas Perez-Hernandez and Isabel Paz-Hernandez on behalf of themselves and all

others similarly situated, submit this motion for leave to amend the class action complaint ﬁled on

September 26, 2023 (ECF No. 1) and to ﬁle the proposed Amended Complaint (Exhibit A), pursuant to

the Joint Stipulation regarding the ﬁling of this motion (ECF No. 56).

                                         I.    INTRODUCTION

       District courts in the Ninth Circuit freely and routinely grant plaintiﬀs leave to amend,

especially when the pleadings have not been amended before. No court has ever formally dismissed any

of Plaintiﬀs’ claims. Plaintiﬀs have never had the opportunity to amend their pleadings. And, as

explained herein, amendment would plainly not be futile. Further, discovery has yet to commence, and

Defendants would not be prejudiced by the ﬁling of an amended complaint. Nor has there been undue

delay in seeking leave to amend; indeed, Defendants stipulated to the date of ﬁling. Plaintiﬀs

respectfully request that the Court grant Plaintiﬀs leave to amend under the liberal standard set forth in

Federal Rule of Civil Procedure 15(a).

       Plaintiﬀs’ initial complaint alleged eleven causes of action on behalf of a proposed nationwide

class of agricultural workers and landscapers who are at heightened risk of contracting Non-Hodgkin’s

Lymphoma (“NHL”) due to their prolonged occupational exposure to glyphosate-based herbicide

Roundup, and who seek relief in the form of a medical surveillance program paid for by Defendants

Monsanto and Bayer. At the hearing on Defendants’ motions to dismiss the action and strike the class

allegations, this Court questioned aspects of Plaintiﬀs’ allegations, including as to the nature of the

proposed class, standing, the mechanics of the proposed relief, and venue.      e Court, however, instead

transferred the action to the Central District of California on venue grounds. Now that the case has been

returned to the MDL, Plaintiﬀs seek leave to address the Court’s comments by clarifying their

allegations.



  Civil No.: 3:24-cv-01736-VC
  MDL: 3:16-md-02741-VC                       1
                 PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
         Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 3 of 7




         Each factor the Court is to consider in deciding whether to grant leave—futility, bad faith, delay,

prejudice, and any prior amendments—favor leave to amend. See Desertrain v. City of Los Angeles, 754

F.3d 1147, 1154 (9th Cir. 2014). First, amendment is not futile.       e proposed complaint addresses the

concerns the Court raised at the prior hearing. Plaintiﬀs have reﬁned the deﬁnitions of Plaintiﬀs’ injury,

the class eligibility criteria, and the relief sought (which is a medical monitoring program intended to

detect early development of NHL, a remedy which is recognized under California law). Second, the

amendments are made in good faith and not for any improper purpose; nor is there any evidence of bad

faith.   ird, there is no delay nor prejudice, as this action is still in the pleadings stage, discovery has

not commenced, and Defendants stipulated to the ﬁling date for the instant motion. Fourth, the

operative complaint is Plaintiﬀs’ ﬁrst; Plaintiﬀs have not yet had any opportunity to amend their

complaint.

                                       II.     LEGAL STANDARD

         Rule 15(a) provides that courts should freely give leave to amend pleadings when justice so

requires; this policy should be applied with “extreme liberality.” Fed. R. Civ. P. 15(a)(2); Desertrain v.

City of Los Angeles, 754 F.3d 1147, 1154 (9th Cir. 2014) (internal citation omitted); Bitton v. Truderma,

LLC, 774 F. App’x 404, 405 (9th Cir. 2019). As the Supreme Court has made clear:

                In the absence of any apparent or declared reason—such as undue delay, bad
                faith or dilatory motive on the part of the movant, repeated failure to cure
                deﬁciencies by amendments previously allowed, undue prejudice to the opposing
                party by virtue of allowance of the amendment, futility of amendment, etc.—the
                leave sought should, as the rules require, be “freely given.” [O]utright refusal to
                grant the leave without any justifying reason appearing for the denial is not an
                exercise of discretion; it is merely abuse of that discretion and inconsistent with
                the spirit of the Federal Rules.

Foman v. Davis, 371 U.S. 178, 182 (1962).

           e Ninth Circuit has set forth ﬁve factors to be considered when assessing the propriety of a

motion for leave to amend: futility of amendment, bad faith, undue delay, prejudice to the other party,


  Civil No.: 3:24-cv-01736-VC
  MDL: 3:16-md-02741-VC                       2
                 PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
        Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 4 of 7




and whether plaintiﬀ has previously amended the pleadings. Desertrain, 754 F.3d at 1155. “Absent

prejudice or a strong showing of any of the remaining Foman factors, there exists a presumption under

Rule 15(a) in favor of granting leave to amend.” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048,

1052 (9th Cir. 2003).     e non-moving party bears the burden of establishing why leave to amend should

not be granted. See Senza-Gel Corp. v. Seiﬀhart, 803 F.2d 661, 666 (Fed. Cir. 186) (applying Ninth

Circuit law).

                                      III.    ARGUMENT

       A.          e Proposed Amendments Are Not Futile

            e proposed amendments to the complaint are not futile. Plaintiﬀs seek to reﬁne their

allegations to more clearly allege standing, their injury, and the redressability thereof in line with

California law on medical monitoring actions, including that: Plaintiﬀs have a reasonable fear of

developing cancer based on their prolonged exposure to toxic chemicals; the risk of serious disease is

signiﬁcant; this type of exposure is widespread and remains virtually unaddressed given the particulars

of the demographic of the proposed class; there is clinical value in early detection and diagnosis; the

recommended monitoring is reasonable; and the cost of medical monitoring is a compensable item of

damages for negligence claims. See, e.g., Potter v. Firestone Tire & Rubber Co. (1993) 6 Cal.4th 965;

Lockheed Martin Corp. v. Superior Ct., 29 Cal. 4th 1096 (2003). Relatedly, Plaintiﬀs proposed

amendments include additional speciﬁc allegations regarding the risk of NHL arising from exposure to

Roundup, testing available for early detection of NHL, and the important of early detection to the

successful diagnosis and treatment of NHL.

       Further, while Plaintiﬀs maintain that assessing the propriety and suitability of a nationwide class

is appropriate for the class certiﬁcation stage, Plaintiﬀs have at this time narrowed the class to California

plaintiﬀs only. To that end, Plaintiﬀs seek to amend both their class deﬁnition and the causes of action



  Civil No.: 3:24-cv-01736-VC
  MDL: 3:16-md-02741-VC                       3
                 PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
        Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 5 of 7




asserted. Plaintiﬀs now allege three counts: common law negligence, California’s Unfair Competition

Law, and declaratory relief.    ese causes of actions are properly pled under California law and there is

no cognizable basis for futility.

       B.          e Proposed Amendments Are Not Untimely or Made in Bad Faith, and Granting
                 Leave to Amend Would Not Prejudice Defendants

       While the other Foman factors must be considered, “it is the consideration of prejudice to the

opposing party that carries the greatest weight.” Eminence Capital, 316 F.3d at 1052. Courts have found

prejudice where amendments came on the eve or close of discovery (Solomon v. N. Am. Life & Cas. Ins.

Co., 151 F.3d 1132, 1139 (9th Cir.1998), when there were multiple previous eﬀorts to amend (Mir v.

Fosburg, 646 F.2d 342, 347 (9th Cir. 1980)), or when the amendment was brought to destroy diversity

and the jurisdiction of the court (DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987)).

            e circumstances here bear no resemblance to those giving rise to prejudice. Given the early

posture of the case, Defendants’ notice of both Plaintiﬀs’ intention to amend and of the reasons for doing

so, and the fact that Plaintiﬀs have never sought to amend their claims or had their claims dismissed,

there is simply no evidence in the record that Plaintiﬀs are acting in bad faith or that Defendants would

be prejudiced by a ﬁrst amended complaint. Nor will amendment interfere with Defendants’ ability to

otherwise litigate the case. See Don v. Unum Grp., Case No. CV 13-4502, 2015 WL 12912322, at *1

(C.D. Cal. Mar. 26, 2015) (ﬁnding no prejudice in granting leave to amend where amendment would not

“add any undue amount of complication to [Defendants’] ability to oppose the class certiﬁcation

motion”).

       As to delay, Plaintiﬀs ﬁled their complaint on September 2023. After Plaintiﬀs granted an

extension of time to respond, Defendants ﬁled their motions to dismiss and motion to strike class

allegations in December 2023. ECF Nos. 1, 16, 20, 21, 22. It was only at the Court’s hearing on those

motions, on February 15, 2024, that Plaintiﬀs learned of the Court’s concerns with aspects of Plaintiﬀs’


  Civil No.: 3:24-cv-01736-VC
  MDL: 3:16-md-02741-VC                       4
                 PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
        Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 6 of 7




allegations. After the Court transferred the case to the Central District of California, the Judicial Panel

on Multidistrict Litigation ﬁled a Conditional Transfer Order on March 18 transferring the case back to

the Northern District of California. ECF Nos. 36, 51. Within a few weeks, the parties negotiated and

ﬁled a stipulation and proposed order regarding a mutually agreed date for the instant motion—and

noted therein that the stipulation did not otherwise alter the Court’s schedule—which this Court granted

on May 2. ECF Nos. 54, 56. Now, within three months of being transferred back to the MDL, Plaintiﬀs,

with Defendants’ consent (see ECF No. 56), seek leave to address the Court’s comments in good faith.

       As discovery has not even commenced and the ﬁrst case management conference is not until

September, Plaintiﬀs are not interfering with any court-imposed deadlines. See, e.g., Solomon, 151 F.3d

at 1139 (leave to amend sought on eve of discovery deadline properly denied). And, even if Defendants

were to somehow argue that the ﬁling is delayed, delay alone is insuﬃcient to provide grounds for

denying leave to amend. Abels v. JBC Legal Grp., P.C., 229 F.R.D. 152, 156 (N.D. Cal. 2005), quoting

Eminence Capital, 316 F.3d at 1052; see also Don, 2015 WL 12912322, at 1 (commenting that “a small

amount of delay . . . would not warrant denial of leave to amend”).

                                         IV.     CONCLUSION

       Based on the foregoing, the Court should grant Plaintiﬀs’ motion for leave to amend the

complaint.




  Civil No.: 3:24-cv-01736-VC
  MDL: 3:16-md-02741-VC                       5
                 PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
      Case 3:16-md-02741-VC Document 18669 Filed 06/21/24 Page 7 of 7




Dated: June 21, 2024                     Respectfully Submitted,

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Civil No.: 3:24-cv-01736-VC
MDL: 3:16-md-02741-VC                       6
               PLANTIFFS’ MOTION FOR LEAVE TO AMEND THE CLASS ACTION COMPLAINT
